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                             IN THE UNITED STATES BANKRUPTCY COURT

                                    FOR THE DISTRICT OF DELAWARE


In re:                                                       ) Chapter 11
                                                             )
KONA GRILL, INC., et al.,1                                   ) Case No.: 19-10953 (CSS)
                                                             )
                                     Debtors.                ) Jointly Administered
                                         Deadline for Objections to Sale: July 15, 2019 at 4:00p.m. (Eastern time)
                                          Deadline for Submitting Bids: July 18, 2019 at 4:00 p.m. (Eastern time)
                                                         Auction Date: July 23, 2019 at 10:00 a.m. (Eastern time)
                                                     Sale Hearing Date: July 25, 2019 at 2:00 p.m. (Eastern time)

           NOTICE OF AUCTION AND SALE HEARING FOR DEBTORS’ ASSETS

                    PLEASE TAKE NOTICE that on May 14, 2019, the above-captioned debtor

and debtor-in-possession (the “Debtor”) filed the Motion for Entry of an Order (I)(A)

Authorizing Entry into the Asset Purchase Agreement with Respect to the Sale of Substantially all

of the Debtors’ Assets; (B) Approving Bid Procedures for the Sale of Substantially All of the Assets

of Debtors; (C) Scheduling an Auction and Hearing to Consider the Sale and Approve the Form

and Manner of Notice Related Thereto; (D) Establishing Procedures Relating to the Assumption

and Assignment of Certain Contracts and Leases, Including Notice of Proposed Cure Amounts;

(E) Approving Certain Break-up Fee Provision; (II) Authorizing and Approving (A) the Sale of

Certain Assets Free and Clear of All Liens, Claims and Encumbrances, Claims, Encumbrances

and Interests and (B) the Assumption and Assignment of Certain Contracts and Leases; and (III)




1
    The Debtors and the last four digits of their respective taxpayer identification numbers include: Kona Grill, Inc.
    (6690); Kona Restaurant Holdings, Inc. (6703); Kona Sushi, Inc. (4253); Kona Macadamia, Inc. (2438); Kona Texas
    Restaurants, Inc. (4089); Kona Grill International Holdings, Inc. (1841); Kona Baltimore, Inc. (9163); Kona Grill
    International, Inc. (7911); and Kona Grill Puerto Rico, Inc. (7641). The headquarters and service address for the
    above-captioned Debtors is 15059 North Scottsdale Road, Suite 300, Scottsdale, Arizona 85254.



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Granting Related Relief (the “Motion”).2 On May 29, 2019, the Court entered an order (the “Bid

Procedures Order”) granting the Motion in part and approving certain bid procedures (the “Bid

Procedures”) to be used in connection with the auction (the “Auction”) of substantially all of

Debtor’s assets (the “Assets”) described in the Motion. Pursuant to the Motion, the Debtors seek,

inter alia, the Bankruptcy Court’s approval of the sale of the Assets to Williston Holding

Company, Inc. (the “Stalking Horse Purchaser”), or to the other successful purchaser(s) of the

Assets at the Auction, free and clear of liens, claims, encumbrances and other interests. The Bid

Procedures shall govern the bidding process and the Auction of the Assets. If the Debtors receive

more than one Qualified Bid (as defined in the Bid Procedures), the Auction will be held on July

23, 2019, at 10:00 a.m. (Eastern Time), at the offices of Pachulski Stang Ziehl & Jones LLP, 919

North Market Street, 17th Floor, Wilmington, Delaware 19801.

                                                 The Sale Hearing

                   PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court has scheduled a

hearing for July 25, 2019 at 2:00 p.m. (Eastern Time) (the “Sale Hearing”) to consider approval

of the winning bid(s) and confirm the results at the Auction for the Assets, pursuant to the Motion.

The Sale Hearing may, however, be adjourned in open court from time to time, without further

notice. The Sale Hearing will be held before the Honorable Christopher S. Sontchi, United States

Bankruptcy Judge, at the United States Bankruptcy Court for the District of Delaware, 824 North

Market Street, 5th Floor, Courtroom No. 6, Wilmington, Delaware 19801.




2
    Capitalized terms not otherwise defined herein shall have the meanings set forth in the Motion.



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                                            Objections

                PLEASE TAKE FURTHER NOTICE that any objection to any of the relief to be

requested at the Sale Hearing must be in writing, state the basis of such objection with specificity,

and shall be filed with the Court and shall be served on: (i) counsel to the Debtor and Debtor-in-

Possession, Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor, P.O. Box

8705, Wilmington, DE 19899-8705 (Courier 19801), Attn: John W. Lucas and James E. O’Neill;

(ii) counsel to the Official Committee of Unsecured Creditors, Kelley Drye & Warren LLP, 101

Park Avenue, New York, NY 10178, Attn: James S. Carr and Jason R. Adams, Bayard, P.A., 600

North King Street, Suite 400, P.O. Box 25130, Wilmington, DE 19899, Attn: Justin R. Alberto

and Erin R. Fay (iii) the Office of the United States Trustee, J. Caleb Boggs Federal Building, 844

N. King Street, Suite 2207, Lock Box 35, Wilmington, DE 19801, Attn: Jaclyn Weissgerber; and

(iv) counsel to the Stalking Horse Purchaser, Gray Plant Mooty, 500 IDS Center, 80 South Eighth

Street, Minneapolis, MN 55402 (Attn: Phillip Bohl) and Austria Legal, LLC, 1007 North Orange

Street, 4th Floor, Wilmington, DE 19801 (Attn: Matthew Austria), so as to be received by July 15,

2019 at 4:00 p.m. (Eastern Time).

                  PLEASE TAKE FURTHER NOTICE that all requests for information

concerning the Bid Procedures, the Bid Procedures Order, or the purchase of the Assets, should be

directed in writing to Pachulski Stang Ziehl & Jones LLP, 919 N. Market St., 17th Floor,




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Wilmington, Delaware 19801, Attn: John W. Lucas and James E. O’Neill, jlucas@pszjlaw.com;

joneill@pszjlaw.com.

Dated: May 31, 2019                  PACHULSKI STANG ZIEHL & JONES LLP

                                     /s/ James E. O’Neill
                                     Jeremy V. Richards (CA Bar No. 102300)
                                     James E. O’Neill (DE Bar No. 4042)
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                                     Attorneys for Debtors and Debtors in Possession




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